                                                                                        Exhibit C


                                                            Angeliina Lawson <angeliinalawson@gmail.com>



Case No. 2020-DM-131 | Removal to Federal Court | Zoom Access Blocked
Angeliina Lawson <angeliinalawson@gmail.com>                                  Wed, May 14, 2025 at 3:36 PM
To: Tina Miller <Tina.Miller@kscourts.org>, KSD_Clerks_KansasCity@ksd.uscourts.gov


 Dear Clerk of the Anderson County District Court,

 I am following up—again—regarding my pending federal removal of Case No. 2020-DM-000131, which has
 been docketed in the U.S. District Court for the District of Kansas as Case No. 5:25-cv-04045-JWB-TJJ.
 Despite timely filing and multiple prior notices, I have:

      1. Received no confirmation that the complete state court record has been transmitted to federal
         court;

      2. Not been granted access to download my own filings or obtain certified records as required
         under 28 U.S.C. § 1446 and Local Rule 81.2;

      3. Still not received a copy or link to the CART notes from the May 8, 2025 hearing, which were added
         to the docket without service or access.

 This pattern of non-response, non-docketing, and exclusion from records and accommodations raises serious
 concerns, especially given that this matter has been removed to federal court under federal civil rights and
 ADA claims.

 I am requesting once more, and on the record, that:

        The complete designated record be properly prepared and transmitted to the U.S. District Court;

        That I be given immediate access to download and obtain copies of all prior filings, notices, and CART
        records;

        That this failure to comply be addressed promptly, to avoid further obstruction of due process and
        federal oversight.

 Please confirm receipt of this request and advise when I may expect full access to my own case record.

 Sincerely,
 Angeliina Lynn Lawson
 1914 5th Ave.
 Leavenworth, KS 66048
 angeliinacourtrecords@gmail.com
 (913) 972-1661


 On Fri, May 9, 2025 at 4:25 PM Angeliina Lawson <angeliinalawson@gmail.com> wrote:

    Subject: Request to Generate and Release Full Designation of Record for Federal Filing


    Dear Clerk,

    This message serves as a formal request that Anderson County promptly generate and release the full
    Designation of Record required for federal preservation and submission in Case No. 5:25-cv-04045-JWB-
    TJJ, currently pending before the U.S. District Court for the District of Kansas.
As the case has been removed to federal court under 28 U.S.C. § 1443, the full state record—including
certified filings, indexed pleadings, and any hearing transcripts—must be made available to support federal
review. Your office is respectfully asked to fulfill this request without further delay to avoid interference with
federal jurisdiction and ADA-based due process rights.

I am copying the federal court to document this request again and ensure that a complete record is properly
preserved.

Sincerely,
Angeliina Lynn Lawson
1914 5th Ave., Leavenworth, KS 66048
angeliinacourtrecords@gmail.com
(913) 972-1661

On Thu, May 8, 2025 at 9:04 AM Angeliina Lawson <angeliinalawson@gmail.com> wrote:
  Re: Case No. 2020-DM-131 | Removal to Federal Court | Zoom Access
  Blocked


  Dear Clerk of the Court,


  I attempted in good faith to join today’s scheduled hearing for Case No.
  2020-DM-131 via the Zoom platform, but was denied access and not
  admitted to the proceeding. I verified my internet, used the correct link, and
  attempted entry multiple times.


  This denial of access constitutes a due process violation under the
  Fourteenth Amendment and violates my rights under the Americans with
  Disabilities Act (42 U.S.C. § 12132). I also remind the Court that this case
  was removed to the United States District Court for the District of Kansas
  under 28 U.S.C. § 1443, and therefore this Court is divested of jurisdiction
  pursuant to § 1446(d).


  Please consider this email a formal jurisdictional objection and preservation
  of the federal record. Any proceedings held today without my participation
  or consent will be challenged as unlawful in the federal forum.


  I request a written acknowledgment that my objection has been received
  and placed in the record.


  Sincerely,
    Angeliina Lynn Lawson
    1914 5th Ave.
    Leavenworth, KS 66048
    angeliinacourtrecords@gmail.com
    (913) 972-1661



  --
  Warmly,
  Angeliina Lawson
  913-972-1661



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Warmly,
Angeliina Lawson
913-972-1661
